[Attorney’s Name, Firm Name,
Address & Contact Information]

[Case Caption]

             SCHEDULING AND PLANNING CONFERENCE REPORT

I.    Meeting.

      In accordance with Rules 16(a) and 26(f), Federal Rules of Civil Procedure,

and with Local Civil Rules 16.1 and 26.1(b), a conferral of the parties was held on

[date], at which the following persons participated: [Insert Attorney Names and

Parties Represented].         As a result of that conferral, the parties recommend the

following:

II.   Discovery Plan.

      A.     Timing, Form and Disclosure Requirements. Please refer to

             Rule 26(f)(3)(A), Federal Rules of Civil Procedure.   Are there changes

             that the parties are proposing to that rule for this case under

             Rule 26(a)?

             Yes         No       [If yes, list proposed changes: ]

      B.     Initial Disclosures / Preliminary Witness Lists.

             1. The information required by Rule 26(a)(1), Federal Rules of Civil

                   Procedure:

                   (a)     Has been exchanged by the parties.



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               (b)       Will be exchanged by the parties on or before:

                     [date].

           2. Preliminary witness lists:

               (a)       Have been exchanged by the parties.

               (b)       Will be exchanged by the parties on or before [date].

           3. Disclosure Statement.        The disclosure requirements of

               Rule 7.1, Federal Rules of Civil Procedure:

               (a)       Have been complied with.

               (b)       Compliance will be accomplished on or before

                     [date].

               (c)       Rule 7.1 is not applicable.

      C.   Subjects and Timing of Discovery.           See Rule 26(f)(3)(B), Federal

           Rules of Civil Procedure.

           1. List the subjects on which discovery may be needed:

           2. Should discovery be conducted in phases or limited to or

               focused on particular issues?      Yes        No       [If yes,

               please describe the proposed phases or limitations: ]

           3. Absent good cause, the proposed date for completion of all

               discovery should be no later than twelve months from the

               date of this report.    [If one or both parties contend that


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                good cause exists for additional time for discovery,

                please explain: ]

            4. Final Discovery Witness List.           A final discovery witness

                list disclosing all lay witnesses whom a party may wish to call

                at trial shall be served and filed on [date] [this date must be

                not less than 45 days prior to the close of fact

                discovery].1

            5. Close of Fact Discovery.         Fact discovery will be completed

                on or before [date] [see paragraph C.3 above].

            6. Expert Discovery. See Rule 26(a)(2), Federal Rules of Civil

                Procedure.

                (a) Expert witnesses shall be identified by each party on or

                     before [date], and each party may identify responsive

                     supplemental expert witnesses within 14 days thereafter.

                (b) Expert disclosures (reports) required by Rule 26(a)(2)

                     will be disclosed:

                     (i) By all parties on or before [date]; or




1
  Each party shall make a good faith attempt to list only those lay witnesses that the party
reasonably believes will testify at trial.

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                            By   plaintiff(s)   on   or   before   [date],   and   by

                            defendant(s) on or before [date];

                      (ii) Rebuttal reports on or before 30 days from the

                            service of the report being rebutted.

                (c) Expert witness discovery (include depositions) shall be

                      completed by: [date] [see paragraph C.3 above].

      D.   Electronically Stored Information (ESI)

           1. Are there issues about the disclosure, discovery, or preservation of

                ESI, including the form or format in which it should be produced?

                See Rule 26(f)(3)(C), Federal Rules of Civil Procedure.

                Yes           No         [If yes, please identify the issue(s): ]

           2. Please state how ESI should be produced: [Explain: ]

      E.   Claims of Privilege or Protection of Attorney Work Product

           See Rule 26(f)(3)(D), Federal Rules of Civil Procedure.

           1.         There is no indication that this will be an issue.

           2.         The     parties    have    entered    into   a   confidentiality

                      agreement.

           3.         The parties will file their proposed confidentiality

                      agreement on or before: [date].




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      F.   Limitations on Discovery.         See Rule 26(f)(3)(E), Federal

           Rules of Civil Procedure.

           1.      The limitations contained in Rules 26(b), 30, and 33,

                   Federal Rules of Civil Procedure, and in Local Civil Rules

                   30.1 and 36.1, will apply except as indicated below.

           2.      The maximum number of depositions by each party will

                   not exceed [number].

                   (a)    Depositions will not exceed [number] hours as to

                          any deponent.

                   (b)    Depositions will not exceed [number] hours as to

                          non-party deponents.

                   (c)    Depositions will not exceed [number] hours as to

                          party deponents.

           3.      The maximum number of interrogatories posed by each

                   party will not exceed [number].

           4.      The maximum number of requests for admissions posed

                   by each party will not exceed [number].

           5.      Other limitations: [insert other limitations].

      G.   Supplementation of Disclosures and Discovery Responses.

           Please refer to Rule 26(e)(1) and (e)(2), Federal Rules of Civil


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            Procedure.       Do the parties request that the Court enter an order that

            is different from these rules (e.g. supplementation at 30-day intervals)?

            Yes         No        [If yes, explain: ]

III.   Pretrial Motions.

       A.   Are there preliminary motions as to jurisdiction, venue, arbitration,

            and/or statutes of limitation that should be filed within 60 days?

            Yes         No        [If yes, explain: ]

       B.   Motions must be served and filed within the times specified in applicable

            rules.     Complete the following only if the parties are proposing

            deadline(s) that are different from the applicable rules:

            1. Motions to amend pleadings or add parties will be filed not later than

                  [date]. Thereafter, a party must seek leave of the Court to modify

                  this deadline. See Rule 16(b)(3)(A) and (4), Federal Rules of Civil

                  Procedure.

            2. Motions under the discovery rules will be filed not later than [date].

            3. Dispositive motions (including motions for summary judgment) will

                  be filed not later than [date].

            4. Motions to exclude expert testimony shall be filed and served not

                  later than [date].




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    IV.   Trial.

          A.   The case is expected to take [number] days to try.

          B.   Has a jury trial been demanded?        Yes       No

          C.   Is the right to jury trial disputed?   Yes      No

          D.   The parties       do /      do not request the scheduling of a trial date at

               this time. 2

               1. If a trial date is requested at this time, the parties’ report shall

                   include a minimum of three alternative dates for the start of the trial,

                   at least two of which are 5 to 7 months from the close of all

                   discovery.

               2. If a trial date is not established at this time, the court will call upon

                   the parties to certify that the case is ready for trial as provided in

                   Local Civil Rule 40.1(b).

V.        Other Provisions.

          A.   Court Conference.         The parties        do /       do not request a

               conference with the court before entry of a scheduling order.            [If

               requested, explain: ]



2 The decision of whether to establish a trial date at this stage of the proceedings rests
with the discretion of the assigned judge. Counsel and self-represented parties are
advised to contact the assigned judge’s Data Quality Analyst (DQA) to determine the
judge’s practice for establishing a trial date.

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      B.   Consent to Proceed before a Magistrate Judge.

           The parties         do /        do not consent to trial before a magistrate

           judge.

      C.   Early Settlement / Alternative Dispute Resolution.

           1. Do the parties request immediate assistance by way of a

                 settlement conference or alternative dispute resolution?

                 Yes         No       [If yes, explain: ]

           2. Do the parties wish to consider private mediation or a

                 settlement conference with a judicial officer of this court at a

                 later date?

                 Yes         No

      D.   Related Cases.         Are the parties aware of any related cases as

           defined by Local Civil Rule 16.1(e)?         Yes      No      [If yes,

           describe: ]

VI.   Report Form.

      A.   Have the parties experienced a problem in using this form?

           Yes          No        [If yes, explain: ]

      B.   Are there additional subjects that the parties would propose to add to

           this form?    Yes          No        [If yes, explain: ]

Dated: ________________                          [Signature Blocks]


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